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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION

  MOON FENTON, M.D.,                              )
         Plaintiff,                               )
                                                  )
  v.                                              )
                                                  )
  THE WEST CLINIC, PLLC, f/k/a THE                )
  WEST CLINIC, PC, d/b/a WEST CANCER              )
  CENTER; WEST LEASECO, LLC; WEST                 )         No. 2:21-cv-02790-SHL-tmp
  DESOTO PARTNERS, LLC; WEST                      )
  UNION PARTNERS, LLC; WEST WOLF                  )
  RIVER PARTNERS, L.P., f/k/a WEST                )
  WOLF RIVER PARTNERS, LLC; WEST                  )
  CAPITAL, LLC; WEST CLINIC HOLDCO,               )
  PC; WEST EQUITY, LLC; and WEST                  )
  PARTNERS, LLC,                                  )
         Defendants.                              )


                      ORDER DISMISSING CERTAIN CAUSES OF ACTION


        Before the Court is Plaintiff’s Stipulation of Partial Voluntary Dismissal of Certain

 Defendants and Causes of Action, (ECF No. 79), filed May 11, 2023. In the Stipulation, Plaintiff

 requests dismissal of the following counts from her Complaint: Count III Negligent

 Misrepresentation, Count V Promissory Fraud, Count VI Fraudulent Concealment, and Count

 VII Fraud by Omission.

        Under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), a plaintiff may dismiss an action

 by filing “a stipulation of dismissal signed by all parties who have appeared.” Here, counsel for

 Plaintiff and Defendants signed the Stipulation. (ECF No. 79 at PageID 1286.) Therefore,

 pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff’s claims against Defendants

 under Counts III, V, VI, and VII are hereby DISMISSED WITHOUT PREJUDICE.
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 Plaintiff’s remaining claims shall proceed.

        IT IS SO ORDERED, this 15th day of May, 2023.

                                               s/ Sheryl H. Lipman
                                               SHERYL H. LIPMAN
                                               CHIEF UNITED STATES DISTRICT JUDGE




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